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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                             Case No. 3:07cr135/RV

ARMANDO CARDON-CORTEZ,
    Defendant.


                                       ORDER
       This cause is before the court upon defendant’s notice of appeal, construed as
a motion for certificate of appealability (doc. 228). Defendant is appealing this court’s
denial of his motions for leave to appeal in forma pauperis and motion for
appointment of counsel. (Doc. 215)
       This court must determine whether a certificate of appealability is appropriate
for any of the issues defendant seeks to raise in his appeal of the denial of his
motions for leave to appeal in forma pauperis and motion for appointment of counsel.
See 28 U.S.C. § 2253(c)(2) (providing that a certificate of appealability may issue “only
if the applicant has made a substantial showing of the denial of a constitutional
right”). Here, the order defendant seeks to appeal (doc. 215) is not final and therefore
is not appealable. Moreover, defendant does not identify the grounds on which he
wishes to challenge the Order (doc. 215) denying the subject motions. The court
finds that defendant is not entitled to the issuance of a certificate of appealability.
       To obtain a certificate of appealability under § 2253(c), “a habeas prisoner must
make a substantial showing of the denial of a constitutional right . . . .” Slack v.
McDaniel, 529 U.S. 473, 483-84 (2000). For the reasons outlined in the Magistrate
Judge’s Order (doc. 215) denying the motions for leave to appeal in forma pauperis
and motion for appointment of counsel, the court concludes that defendant has not
made a substantial showing of the denial of a constitutional right.
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        Accordingly, it is ORDERED:
        Defendant’s motion for certificate of appealability (doc. 228) is DENIED.
        DONE AND ORDERED this 22nd day of December, 2011.



                                        /s/ Roger Vinson
                                        ROGER VINSON
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No: 3:07cr135/RV
